       CASE 0:09-cr-00226-JRT-AJB        Doc. 84     Filed 02/26/10   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                         Criminal No. 09-226 (2) (JRT/AJB)

                                Plaintiff,

 v.                                            ORDER SEALING DOCUMENT

 NATALIE LYNN BARTELL,

                          Defendant.
 _______________________________________________________________________

      Christian Wilton, Assistant United States Attorney, OFFICE OF THE
      UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
      Minneapolis, MN 55415, for plaintiff.

      Kevin Cornwell, LAW OFFICE OF KEVIN C. CORNWELL, 102 South
      29th Avenue West, Suite 206, Duluth, MN 55806, for defendant.


      This matter comes before the Court on the Defendant’s motion to seal document

[Docket No. 76]. Based upon all the records and proceedings herein,

      IT IS HEREBY ORDERED that the Defendant’s motion to seal document is

GRANTED.


DATED: February 26, 2010
at Minneapolis, Minnesota                       _____ s/ John R. Tunheim ______
                                                     JOHN R. TUNHEIM
                                                   United States District Judge
